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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

In re:                                                        §
                                                              §
PAYSON PETROLEUM 3 WELL,                                      §       CASE NO. 17-40180
2014, L.P.,                                                   §
                                                              §       Chapter 7
         Debtor.                                              §
                                                              §
                                                              §
JASON R. SEARCY, CHAPTER 11                                   §
TRUSTEE FOR PAYSON                                            §
PETROLEUM, INC.,                                              §
                                                              §
         Plaintiff,                                           §
                                                              § Adversary Proceeding No. 18-04074
                v.                                            §
                                                              §
ACME ENERGY COMPANY, ET. AL.,                                 §
                                                              §
         Defendants.                                          §

                                            NOTICE OF HEARING

        PLEASE TAKE NOTICE that the United States Bankruptcy Court for the Eastern
District of Texas has set a hearing on the following motions, to be held before the Honorable
Brenda T. Rhoades, Chief U.S. Bankruptcy Judge, on December 12, 2018 at 10:00 a.m., at the
US Bankruptcy Court, 660 North Central Expressway, Suite 300B, Plano, Texas 75074:

         (i)         Motion of Various Defendants to Withdraw the Reference; and

         (ii)        Motion of Various Defendants to Dismiss and Brief In Support.




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                                                                   /s/ Davor Rukavina
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                                         CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 20th day of November, 2018, true and
correct copies of this document were electronically served by the Court’s ECF system on parties
entitled to notice thereof, including the plaintiff.

                                                                   /s/ Davor Rukavina
                                                                      Davor Rukavina, Esq.




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